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                                                 June 27, 2022

   VIA ECF
   Special Master Thomas P. Scrivo, Esq.
   O’Toole Scrivo LLC
   14 Village Park Road
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           Re:        STWB, Inc.’s Opposition to Motion to Compel Rule 30(b)(6) Deposition of
                      Defendant STWB, Inc. and Cross-Motion for Protective Order
                      Occidental Chemical Corp. v. 21st Century Fox America, Inc. et al.
                      Civil Action No. 2:18-cv-11273-MCA-LDW
                      SPSK File No.: 32350-4

   Dear Special Master Scrivo:

           As you are aware, we represent STWB, Inc. (“STWB”) in the above-referenced matter.
   Please accept this letter brief in lieu of a more formal brief in support of STWB’s Opposition to
   Occidental Chemical Corporation’s (“OxyChem’s”) Motion to Compel Rule 30(b)(6) Deposition
   of STWB’s Cross-Motion for Protective Order. As you are aware, on June 22, 2022, OxyChem
   filed a Motion to Compel Rule 30(b)(6) Deposition of STWB (“Motion to Compel”) following
   its May 9, 2022, Rule 30(b)(6) Deposition Notice (“Deposition Notice”) to STWB. The
   Deposition Notice sought a live witness for examination from STWB to testify on many topics
   which have already been the subject of extensive deposition testimony in the New Jersey Dep’t
   of Environmental Prot. v. Occidental Chem. Corp., et al., litigation (the “State Litigation”). A
   true and accurate copy of the Deposition Notice is attached hereto as Exhibit A.

           For the reasons set forth below, STWB respectfully requests the Court deny OxyChem’s
   Motion to Compel and enter a Protective Order (1) barring OxyChem from pursuing a live
   deposition witness from STWB on topics which have already been the subject of prior deposition
   testimony in the State Litigation and (2) requiring STWB and OxyChem to stipulate to the
   relevant testimony of Paul B. Thomasset from his June 22, 2011, deposition (the “Thomasset
   Deposition”) in the State Litigation, for the topics sought by OxyChem’s Deposition Notice
   which were already covered by Mr. Thomasset’s testimony. A true and accurate copy of the
   Thomasset Deposition is attached hereto as Exhibit B. Finally, STWB objects to OxyChem’s
   unilateral deposition date of August 16, 2022, which was made without input from STWB and is
   a date which STWB is not available. STWB advised of the same in its June 14, 2022 letter to
   OxyChem. A true and accurate copy of STWB’s June 14, 2022, letter is attached hereto as

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   FLORHAM PARK, NJ                PARAMUS, NJ                   SPARTA, NJ            NEW YORK, NY
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   Exhibit C. The Court’s relief on this issue is necessitated by OxyChem’s refusal to employ
   good faith efforts to meet and confer.

                                      BACKGROUND FACTS

           In 2011, as part of the State Litigation, a matter with substantially similar facts to the
   instant matter, OxyChem’s counsel, Archer & Greiner, P.C. attended a deposition whereby Mr.
   Thomasset was deposed regarding all, or substantially all, of the topics related to the “STWB
   site” identified in Attachment A of OxyChem’s Deposition Notice. More specifically, Mr.
   Thomasset as deposed on: Topic 1 – The ownership and/or Operations at the STWB Site,
   including without limitation all Operations that used or produced Hazardous Substances, and the
   Hazardous Substances that were used or produced in those Operations; Topic 3 - STWB’s
   storage, releases, and disposals of Hazardous Substances at or from the STWB Site during the
   years 1986 to present; Topic 5 - Remedial or other environmental investigations and actions
   pertaining to Hazardous Substances used, located, or found at the STWB Site, excluding air
   quality matters; Topic 7 - In connection with any sampling of soil, water, sediment, or wastes at
   the STWB Site, the existence, scope, and results of such sampling, including the reason why
   samples for particular Hazardous Substances were or were not collected, and the content of the
   reports of that sampling; Topic 9 - The use, manufacture, storage, and/or handling of
   dioxins/furans, hexachlorobenzene, dichlorobenzene, trichlorobenzene, PAHs, PCBs, PAHs,
   lead, copper, mercury, and any ROD COCs at the STWB Site during the years 1986 to present;
   Topic 11 - Any discharge routes from the STWB Site to the Passaic River, including but not
   limited to direct stormwater outfalls, process water discharge outfalls, and sewers; Topic 13 -
   Excluding reports regarding air quality, STWB’s reporting or submission of data to EPA
   regarding the presence, use, or discharge of Hazardous Substances during the period of
   Operations at the STWB Site, including, without limitation, the Toxic Release Inventory,
   materials handling inventories, or investigations in connection with the closure of any portion of
   the facility; Topic 15 - Any Communications between STWB and any Governmental Agency
   regarding STWB’s actual or possible liability to the United States associated with any operable
   unit of the Diamond Alkali Superfund Site, including without limitation STWB’s response to any
   requests by any Governmental Agency for information about the STWB Site. See Exhibit A.

            Mr. Thomasett is and was the person most knowledgeable of the historic operations at the
   STWB site and was examined with respect to his knowledge of the same. Mr. Thomasset, the
   only living person with any substantive knowledge of the topics at issue pertaining to STWB,
   accordingly provided comprehensive and complete responses on behalf of STWB to each of the
   aforementioned topics. Mr. Thomasset’s deposition testimony from 2011 constitutes STWB’s
   entire universe of knowledge on those topics and STWB, as an organization, has no other
   institutional knowledge on those topics other than what was testified to by Mr. Thomasset. See
   Certification of Mark Bowers (“Bowers Cert.”), at ¶ 3 attached hereto as Exhibit D.
   Furthermore, any institutional knowledge of these operations would have been maintained by
   STWB’s predecessors, Eastman Kodak Company (“Kodak”) and/or NPEC, Inc., and not STWB.
   See Bowers Cert. at ¶ 4. Kodak and NPEC are no longer in existence and thus, neither can
   provide any additional witnesses or information other than what was provided in the Thomasset



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   Deposition. See Bowers Cert. at ¶ 4. In addition, STWB has no further documents or
   information other than what has been produced in this litigation or the State Litigation. See
   Bowers Cert. at ¶ 5.

            In or around August 2021, OxyChem and STWB engaged in discussions regarding
   OxyChem’s intent to depose a Rule 30(b)(6) witness from STWB. During those discussions,
   STWB proposed designating the Thomasset Deposition in place of a Rule 30(b)(6) deposition
   due to its lack of any additional institutional information. It was STWB’s understanding that
   OxyChem would consider this proposal and advise as to OxyChem’s position. However, on
   December 6, 2021, OxyChem sent a letter requesting deposition dates in March or April 2022 for
   a Rule 30(b)(6) deposition from STWB. A true and accurate copy of OxyChem’s December 6,
   2021, letter is attached hereto as Exhibit E. Shortly thereafter, on at least two occasions, STWB
   made phone calls to OxyChem to discuss this matter but never received a return phone call. See
   Certification of Timothy I. Duffy, Esq. attached hereto as Exhibit F. Therefore, on December
   21, 2021, STWB sent a letter to OxyChem reiterating its position and again setting forth the
   reasons for designating the Thomasset Deposition in lieu of a 30(b)(6) deposition in this matter.
   In the same letter, STWB also requested an opportunity to meet and confer in a good faith effort
   to facilitate a mutually agreeable resolution to this issue. A true and accurate copy of STWB’s
   December 21, 2021, letter is attached hereto as Exhibit G.

           On or about March 28, 2022, STWB received a letter from OxyChem advising that
   OxyChem would not accept STWB’s request to designate the Thomasset Deposition in lieu of
   providing a corporate representative from STWB for a 30(b)(6) deposition. OxyChem also
   requested a meet and confer to discuss STWB’s objections. On March 30, 2022, STWB sent a
   response to OxyChem, again reiterating its position that any such 30(b)(6) deposition would be a
   classic case of form over substance and an unnecessary expenditure of resources. STWB again
   advised that it would be more than willing to meet and confer with OxyChem to discuss the
   same. A true and accurate copy of STWB’s March 30, 2022, letter to OxyChem is attached
   hereto as Exhibit H.

           On May 5, 2022, STWB and OxyChem finally engaged in a meet and confer, whereby
   OxyChem again demanded STWB produce a “live” witness from STWB for a 30(b)(6) motion,
   despite the impracticality of the same. During the meet and confer, STWB again explained its
   inability to produce a witness who could offer any further testimony or information pertaining to
   Attachment A of OxyChem’s Deposition Notice and that any such witness would simply refer to
   the testimony provided during the Thomasset Deposition. Notwithstanding the same, OxyChem
   refused to discuss this matter substantively, rejected STWB’s proposal out of hand, and provided
   no basis other than stating that, “OCC is entitled to a date.” STWB attempted to discuss a
   potential compromise and offered to substantively respond to any requests for further
   information that OxyChem did not believe was adequately covered by the Thomasset
   Deposition, however, OxyChem was not interested in this potential resolution.

          On May 9, 2022, STWB received a letter from OxyChem advising that for the reasons
   previously set forth, OxyChem was again renewing its request for a “live witness… designee”



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   from STWB. Furthermore, OxyChem inaccurately claimed that STWB was “refusing” to
   comply with OxyChem’s request and advised that it was “exercising its right under the Protocol
   for Depositions” (Dkt. 1167) to unilaterally schedule a 30(b)(6) deposition for STWB. As such,
   OxyChem attached thereto its 30(b)(6) Deposition Notice and Attachment A, identifying overly
   broad, vague, and ambiguous topics to which it intended to examine STWB’s corporate
   designee. A true and accurate copy of OxyChem’s May 9, 2022, letter is attached hereto as
   Exhibit I.

           On May 12, 2022, STWB responded to OxyChem, again reiterating the fruitless exercise
   of a 30(b)(6) deposition, requesting OxyChem identify what it seeks to accomplish through the
   same, requesting OxyChem provide a list of topics not adequately covered by the Thomasset
   Deposition, and requesting OxyChem provide a list of all documents which OxyChem intends to
   rely upon to examine any potential 30(b)(6) designee. Furthermore, STWB advised that
   OxyChem’s “Topics for Examination” in Attachment A are essentially document requests to
   which STWB has already produced all non-privileged documents in its possession, and do not
   “describe with reasonable particularity the matters for examination” pursuant to Fed. R. Civ. P.
   30(b)(6). STWB again expressed its willingness to schedule another good faith meet and confer
   to discuss these issues. A true and accurate copy of STWB’s May 12, 2022, letter is attached
   hereto as Exhibit J.

           On May 31, 2022, OxyChem responded and proposed that STWB file a Motion for
   Protective Order, so that the Court may weigh in on this issue and determine whether STWB
   must produce a “live witness” for a 30(b)(6) deposition pursuant to OxyChem’s demands. A true
   and accurate copy of OxyChem’s May 31, 2022, letter is attached hereto as Exhibit K.

           STWB unequivocally stands by its position that it has no additional institutional
   knowledge of the topics covered in the Thomasset Deposition and Mr. Thomasset’s testimony,
   which covered substantially the same factual matters at issue in the instant litigation. Thus,
   STWB cannot produce another “live witness” with any further corporate knowledge regarding
   these historical operations, including the topics identified in Attachment A of OxyChem’s
   Deposition Notice. See Bowers Cert. at ¶ 6. Any potential 30(b)(6) witness provided by STWB
   would simply refer to the prior deposition testimony of Mr. Thomasset as to all topics on which
   he was deposed. See Bowers Cert. at ¶ 6. As such, STWB submits the following brief in
   opposition to OxyChem’s Motion to Compel and respectfully seeks relief from the Court for a
   protective order regarding this issue.




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                                             LEGAL ARGUMENT

           Compelling STWB to produce a “live witness” as a designee for a 30(b)(6) deposition
   when that designee would possess no substantive knowledge of the relevant subject matters, and
   when that designee could only stipulate to the testimony of a prior witness, creates an undue
   burden STWB, and unnecessary expense to the parties, and is a colossal waste of time and
   judicial resources.

                        The Court. “may, for good cause, issue an order to protect a
                        party or person from annoyance, embarrassment,
                        oppression, or undue burden or expense.” Fed. R. Civ. P.
                        26(c)(1).

           Good cause exists and a protective order may be granted where the burden of discovery
   sought would outweigh the benefits if (1) it is “unreasonably cumulative or duplicative,” (2) “the
   party seeking discovery had ample opportunity to obtain the information by other discovery,” or
   (3) the needs of the case, the amount in controversy, the parties’ resources, the importance of the
   issues at stake in the action, and the importance of the discovery in resolving the issues”
   demands the same. Koninklijke Philips Elecs. N.V. v. Hunt Control Sys., Inc. 2014 U.S. Distr.
   LEXIS 157793, *5-6 (D.N.J. 2014). This rule aims “to guard against redundant or
   disproportionate discovery by giving the court authority to reduce the discovery that may be
   directed to matters that are otherwise proper subjects of inquiry.” Leksi, Inc. v. Fed. Ins. Co.,
   129 F.R.D. 99, 105 (D.N.J. 1989).


       I.        STWB HAS SHOWN GOOD CAUSE FOR A PROTECTIVE ORDER
                 BECAUSE STWB HAS ALREADY PRODUCED A WITNESS IN THE
                 SUBSTANTIALLY SIMILAR STATE LITIGATION TO TESTIFY TO MANY
                 OF THE SAME TOPICS SOUGHT IN THE INSTANT MATTER AND ANY
                 FURTHER TESTIMONY ON THE SAME WOULD BE UNREASONABLY
                 CUMULATIVE OR DUPLICATIVE.

           OxyChem already had an opportunity to depose an STWB corporate representative in the
   State Litigation and that witness has already provided responses to most of the topics sought by
   OxyChem in its Deposition Notice. “If further depositions on the same issues would yield
   information already provided in prior depositions, then those further depositions should be
   excluded as “unreasonably cumulative or duplicative.” EEOC v. Freeman, 2012 U.S. Dist.
   LEXIS 86198, *5 (D.Md. June 21, 2012). See generally, Nicholas v. Wyndham Int’l, Inc. 373
   F.3d 537, 543 (4th Circ. 2004). In 2011, during the discovery process in the State Litigation,
   Paul Thomasset, the only living person with knowledge of the historical operations at the STWB
   site, was fully deposed on the topics pertaining to this site as set forth in the Deposition Notice.
   Notably, OxyChem’s counsel had ample opportunity to fully depose Mr. Thomasset on each one
   of the topics set forth in the Deposition Notice at the time of the Thomasset Deposition.
   However, OxyChem chose not to do so and now seeks to depose an arbitrary designee from



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   STWB instead, merely to recite the same testimony provided by Mr. Thomasset, simply for the
   sake of deposing a “live witness.”

           The Court may even grant a protective order based on the amount of discovery already
   produced. See generally Johnson v. Geico Cas. Co., 269 F.R.D. 406, 415-16 (D. Del. July 9,
   2010). In Johnson, the Court, in part, granted Geico’s motion for a protective order as to a
   30(b)(6) deposition because Geico had previously produced “thousands of documents” and the
   plaintiff had “already deposed witnesses with respect to the particular topic, finding that
   plaintiff’s 30(b)(6) notice was “duplicative and unduly burdensome.” Id. (citing Munich
   Reinsurance Am., Inc. v. Am. Nat’l Ins. Co., 2011 U.S. Dist. LEXIS 41826 (D.N.J. April 18,
   2011)). Like Johnson, a voluminous amount of discovery has already been exchanged between
   the parties in this matter and the State Litigation, and witnesses have already been deposed on
   many of the topics contained in the Deposition Notice pertaining to the STWB site.

           STWB has no further knowledge of the historical operations / topics identified in the
   Deposition Notice other than what Mr. Thomasset testified to in his deposition. See Bowers
   Cert. at ¶ 3. In fact, any additional institutional knowledge regarding the historic activities at this
   site would have been maintained by STWB’s predecessors, Kodak and/or NPEC, Inc., and not
   SWTB. See Bowers Cert. at ¶ 4. Kodak and NPEC are no longer in existence and thus, neither
   can provide any additional witnesses or information other than what was provided in the
   Thomasset Deposition. See Bowers Cert. at ¶ 4. In addition, STWB has no further documents
   or information other than what has been produced in this litigation or the State Litigation. See
   Bowers Cert. at ¶ 5.

           Where a corporate entity has no knowledge concerning a particular 30(b)(6) topic other
   than what is contained in prior testimony, the entity “may also satisfy its Rule 30(b)(6) obligation
   by offering to be bound by prior deposition testimony regarding a noticed Rule 30(b)(6) topic.”
   EEOC v. Boeing Co., 2007 US Dist. LEXIS 29107 , at *4 (D. Ariz. Apr. 18, 2007). “Notably, in
   Novartis Pharms. Corp v. Abbott Labs, 203 F.R.D. 159, 162-63 (D. Del. 2001), the Court denied
   Novartis’ motion to compel a 30(b)(6) deposition where Abbott Labs agreed to be bound by the
   testimony previously provided by an individual, who was deposed in his individual capacity,
   who would have been the designee for a 30(b)(6) deposition.” Munich Reinsurance Am., Inc.
   2011 U.S. Dist. LEXIS 41826 (D.N.J. April 18, 2011). Indeed, Mr. Thomasset testified in the
   same manner, in his individual capacity, and because STWB lacks any further institutional
   knowledge, STWB is willing to satisfy its 30(b)(6) obligations in this same fashion and thus, has
   offered to be bound by the Thomasset Deposition. However, OxyChem has flat our rejected this
   solution.

         More specifically, the OxyChem Deposition Notice seeks deposition testimony from an
   STWB corporate designee on the following topics, all of which were already provided by STWB
   and Mr. Thomasset during the Thomasset Deposition as identified below:




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                 OXYCHEM’S NOTICE OF RULE 30(b)(6) DEPOSITION OF STWB

   Topic                          Topic                         Responsive Thomasset Deposition
    No.                                                                      Testimony
     1         The ownership and/or Operations at the         See generally, Thomasset Deposition.
               STWB Site, including without limitation
               all Operations that used or produced
               Hazardous Substances, and the Hazardous
               Substances that were used or produced in
               those Operations.

      3        STWB’s storage, releases, and disposals of     65:24 – 66:12; 95:8 – 97:13
               Hazardous Substances at or from the
               STWB Site during the years 1986 to
               present.

      5        Remedial or other environmental                See generally, Thomasset Deposition
               investigations and actions pertaining to
               Hazardous Substances used, located, or
               found at the STWB Site, excluding air
               quality matters.
      7        In connection with any sampling of soil,       17:24 – 22:18; 71:3 – 72:2; 88:20 – 89:3;
               water, sediment, or wastes at the STWB         117:13 – 118:6
               Site, the existence, scope, and results of
               such sampling, including the reason why
               samples for particular Hazardous
               Substances were or were not collected, and
               the content of the reports of that sampling.

      9        The use, manufacture, storage, and/or          13:21 – 22:18; 24:11 – 25:9; 33:1 –
               handling of dioxins/furans,                    34:20; 35:3 – 36:13; 65:18 – 65:23
               hexachlorobenzene, dichlorobenzene,
               trichlorobenzene, PAHs, PCBs, PAHs,
               lead, copper, mercury, and any ROD COCs
               at the STWB Site during the years 1986 to
               present.
      11       Any discharge routes from the STWB Site        18:19 – 22:18; 31:9 – 32:18; 35:3 –
               to the Passaic River, including but not        38:22; 41:11 – 41:21; 42:3 – 43:11; 48:8-
               limited to direct stormwater outfalls,         48:12; 50:7 – 51:21; 55:18- 59:8; 63:24 –
               process water discharge outfalls, and          67:4; 67:22 – 68:22; 75:18 – 76:3; 87:21
               sewers.                                        – 108:23; 118:14 – 118:19




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      13       Excluding reports regarding air quality,       110:10 – 110:23; 121 – 122:8
               STWB’s reporting or submission of data to
               EPA regarding the presence, use, or
               discharge of Hazardous Substances during
               the period of Operations at the STWB Site,
               including, without limitation, the Toxic
               Release Inventory, materials handling
               inventories, or investigations in connection
               with the closure of any portion of the
               facility.

      15       Any Communications between STWB and            118:7 – 118:13
               any Governmental Agency regarding
               STWB’s actual or possible liability to the
               United States associated with any operable
               unit of the Diamond Alkali Superfund Site,
               including without limitation STWB’s
               response to any requests by any
               Governmental Agency for information
               about the STWB Site or the L&F Site.

            Moreover, OxyChem has affirmatively designated the Thomasset Deposition for use in
   this litigation. See OxyChem’s Notice of Potential Use of Transcripts of Prior Testimony,
   attached hereto as Exhibit L. As a result, OxyChem has acknowledged the relevance and
   importance of Mr. Thomasset’s testimony as it relates to the issues in this litigation and
   acknowledges the substantive value of the Thomasset Deposition.

           While our courts have often held that prior deposition testimony from individual fact
   witnesses do not relieve corporations from designating corporate representatives for 30(b)(6)
   depositions, this matter is distinguished from that general principle because (1) STWB cannot
   provide another witness who possesses knowledge different from Mr. Thomasset, (2) OxyChem
   has already had an opportunity to depose STWB on these topics, and (3) compelling STWB to
   produce an arbitrary designee would be unreasonably cumulative and duplicative of Mr.
   Thomasset’s testimony and a waste of time and resources. Thus, OxyChem should be barred
   from re-deposing STWB on Topics 1, 3, 5, 7, 9, 11, 13, and 15, and the 30(b)(6) topics sought by
   OxyChem must be limited to topics not previously covered by the Thomasset Deposition.

       II.       STWB HAS SHOWN GOOD CAUSE FOR A PROTECTIVE ORDER
                 BECAUSE OXYCHEM HAS HAD AND STILL HAS AMPLE
                 OPPORTUNITY TO OBTAIN THE INFORMATION BY OTHER
                 DISCOVERY, SUCH AS WRITTEN DISCOVERY REQUESTS TO STWB.

          The topics identified in the Deposition Notice are essentially discovery requests and
   could easily be requested by OxyChem via the appropriate channels for the same. OxyChem is



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   required to “describe with reasonable particularity the matters for examination” pursuant to Fed.
   R. Civ. P. 30(b)(6). “…Stating that the topics of discussion will correlate with the document
   requests is too broad, vague, and ambiguous to properly comply with Rule 30(b)(6).” Scioneaux
   v. Elevating Boats, LLC, 2010 U.D. Dist. LEXIS 64192, *9 (E.D. La. Oct. 20, 2010). As
   previously noted, STWB has already offered to provide OxyChem with any additional
   information not covered in the Thomasset Deposition. However, the topics provided in
   OxyChem’s Deposition Notice are overly broad, vague, and ambiguous, making it impossible for
   STWB to ascertain what topics remain undeposed by the Thomasset Deposition and to prepare a
   witness on these topics. For example, OxyChem seeks information regarding:

                       all “operations” at the site that “used or produced hazardous substances” without
                        any restriction on the scope of the “substances” or a time frame for the same;
                       “remedial or other environmental investigations and actions pertaining to
                        Hazardous substances” without limitation as to the specific subject matters or
                        hazardous substances at issue in this litigation or a time frame for the same;
                       sampling at the sites without limitation as to the subject matter of this litigation or
                        a time frame for the same;
                       the reasoning for why or why not sampling was or wasn’t collected (an
                        impossible for task for any corporate designee without personal knowledge of the
                        same to provide a response to); and
                       any insurance policies associated with the sites without limitation as to scope or
                        time frame.

            “Rule 30(b)(6) recognizes that the task of educating and presenting a representative
   deponent to testify on the topics in the notice can be burdensome, and thus the rule requires the
   "matters for examination" to be "describe[d] with reasonable particularity." Fed. R. Civ. P.
   30(b)(6). Courts have limited or narrowed Rule 30(b)(6) topics that were found not to describe
   the matters for examination with reasonable particularity.” Centurylink Communs. LLC v.
   Peerless Network, Inc., 2020 U.S. Dist. LEXIS 260276. (N.D. Ill. Jan. 28, 2020). “The Court
   must evaluate 'reasonable particularity' [of Rule 30(b)(6) topics] based on the nature of the topics
   listed in the deposition. 'Reasonable particularity' requires the topics listed to be specific as to
   subject area and to have discernible boundaries .... This means that the topics should not be listed
   as 'including but not limited to;' rather, they must be explicitly stated." Winfield v City of New
   York, 2018 U.S. Dist. LEXIS 22996 at *5, (S.D.N.Y. Feb. 12, 2018). OxyChem’s requests are
   not described with “reasonable particularity” making it impossible for STWB to prepare a
   corporate representative to proffer testimony on the same. In fact, OxyChem’s requests are so
   overly broad and not sufficiently descriptive to provide any meaningful insight as to the topics to
   be addressed at a 30(b)(6) deposition and simply amount to an open-ended fishing expedition.

           In addition, OxyChem seeks information that is confidential, privileged, and/or wholly
   irrelevant, including:

                       STWB’s current and prospective use, if any, of the Navigation Channel;



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                       information pertaining to STWB’s participation in the Batson Allocation Process;
                        and
                       any policies of insurance potentially applicable to the STWB Site, any
                        Communications with insurers, notices of claims, reservation of rights letters, and
                        any litigation over insurance coverage regarding STWB’s actual or asserted
                        liability to the United States associated with any operable unit of the Diamond
                        Alkali Superfund Site.

           If OxyChem provides proper written discovery requests, STWB is more than willing to
   produce any non-privileged information in its possession not already disclosed through the
   discovery process. However, identifying a series of broad topics without “reasonable
   particularity” is not suitable for a 30(b)(6) deposition. Fed. R. Civ. P. 30(b)(6).

           The Court may exercise its discretion to strike certain topics outside the scope of
   permissible discovery and not proportional to the needs of the case, including for requests that
   should have been sought in written discovery. See Tellis v. LeBlanc, 2020 U.S. Dist. LEXIS
   46677 (W.D. La. Mar. 17, 2020). Like the topics in Tellis, where the court found that
   information regarding “evidence” intended to be introduced at trial should have been sought in
   written discovery requests, the general topics identified by OxyChem in the Deposition Notice
   are much too broad, much more appropriate for written discovery requests, and should refined
   and narrowly tailored for the same.

            Furthermore, parties who have had the opportunity to previously obtain the requested
   information only have one bite at the apple because allowing parties to repeatedly depose
   corporate witnesses would only lead to a colossal waste of time and resources. Therefore, parties
   are bound to obtain the information when that opportunity arises, or risk forever waiving their
   right to the same. In Freeman, the court found that the plaintiff could have obtained the
   requested information during the depositions of defendant’s employees but failed to do so. The
   court held that a protective order was appropriate because the defendant “had ample opportunity
   to obtain the information from other sources.” Freeman, 2012 U.S. Dist. LEXIS 86198, *5-6.
   Like in Freeman, Plaintiff OxyChem had the opportunity to examine Mr. Thomasset during his
   2011 deposition on most of the topics set forth in the Deposition Notice, including Topics 1, 3, 4,
   5, 7, 9, 11, 13, 14, 15, and 16. If OxyChem was not satisfied with scope of testimony given by
   Mr. Thomasset, OxyChem had every right to engage Mr. Thomasset on the same. However,
   OxyChem’s decision not to do so when it had the opportunity constitutes grounds for a
   protective order for any 30(b)(6) deposition in the instant matter.

        STWB remains willing to provide any non-privileged information to OxyChem, if
   OxyChem could adequately provide all information sought which is not covered by the
   Thomasset Deposition.




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       III.      THE BENEFIT OF ALLOWING A 30(b)(6) DEPOSITIOIN OF AN STWB
                 CORPORATE DESIGNEE IS FAR OUTWEIGHED BY THE BURDEN OF
                 COMPELLING AN ARBITRARY WITNESS TO TESTIFY FOR THE SAME.

           As previously mentioned, compelling STWB to produce a corporate designee who could
   only reiterate the testimony of Mr. Thomasset is a fruitless exercise by OxyChem which will not
   yield any probative value in this matter. A protective order may be granted based on “the needs
   of the case, the amount in controversy, the parties’ resources, the importance of the issues at
   stake in the action, and the importance of the discovery in resolving the issues.” Koninklijke
   2014 U.S. Distr. LEXIS 157793, *5-6 (D.N.J. 2014). “The district court has wide discretion in
   determining the scope and effect of discovery,” and does not abuse its discretion by limiting the
   scope of discovery if the parties are given “an opportunity to conduct adequate discovery.”
   Ameristar Jet Charter v. Inc., v. Signal Composites, Inc. 244 F. 3d 189, 10 (1st Cir. Apr. 3, 2001).
   Thus, the district court has the discretion to limit discovery, and may choose to do so if it
   determines that the parties had an “opportunity to conduct adequate discovery” or if the
   discovery sought is “unreasonably cumulative or duplicative”, or is obtainable from some other
   source that is more convenient, “less burdensome or less expensive..” Fed. R. Civ. Pro.
   26(b)(2)(i). In this matter, for the reasons previously noted, a 30(b)(6) deposition will not
   resolve any issues, provide any additional information, or further the needs of any of the parties.

           Furthermore, the burden of preparing a corporate designee with no knowledge of the
   particular and specific topics to be addressed at the 30(b)(6) deposition by OxyChem (topics
   which are related to historical operations from many decades ago) would be unduly burdensome
   to both STWB and the designee. To the extent OxyChem seeks to re-depose STWB on topics
   covered by Mr. Thomasset, the designee’s corporate knowledge will thus be no more than Mr.
   Thomasset’s knowledge and would simply refer to Mr. Thomasset’s deposition testimony. Such
   an exercise will take many hours and cause an unnecessary burden and expense to STWB while
   OxyChem stands to gain no probative value from this sham 30(b)(6) deposition. Based on the
   foregoing, it is apparent that the benefit of allowing this 30(b)(6) deposition is outweighed by the
   burden posed to STWB.

           Although STWB believes it makes a compelling case for a Protective Order pursuant to
   all three factors, the Court may issue a protective order if STWB meets its burden for just one of
   these factors: (1) the discovery request is “unreasonably cumulative or duplicative,” (2) “the
   party seeking discovery had ample opportunity to obtain the information by other discovery,” or
   (3) the needs of the case, the amount in controversy, the parties’ resources, the importance of the
   issues at stake in the action, and the importance of the discovery in resolving the issues.” In this
   case, a Protective Order should be issued because OxyChem’s Motion to Compel a 30(b)(6)
   deposition notice is unreasonably cumulative of Mr. Thomasset’s testimony, OxyChem had
   ample opportunity to obtain the information sought through other discovery and at the time of
   Mr. Thomasset’s deposition, and the needs of the case favor STWB’s position to deny the
   Motion to Compel and grant a Protective Order.




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       IV.       IF THE COURT SHOULD REQUIRE A 30(b)(6) DEPOSITION OF AN STWB
                 CORPORATE REPRESENTATIVE, OXYCHEM AND STWB MUST
                 DESIGNATE A MUTUALLY AGREEABLE DATE FOR THE SAME.

           If a 30(b)(6) deposition is absolutely necessary, STWB will need adequate time to
   prepare any potential corporate designee due to scope of topics and issues sought by OxyChem.
   “A party who wants to depose a person by oral questions must give reasonable written notice to
   every other party.” Fed. R. Civ. Pro. 30(b)(1). “The rule largely treats the depositions of
   corporations and individuals the same: they are subject to the same reasonable notice
   requirements under Rule 30(b)(1); the same advance notice requirement for the method of
   recording under Rule 30(b)(3)(A); and the same document production rules under Rule
   30(b)(2).” City of Las Cruces v. United States, 2021 U.S. Dist. LEXIS 18467, *17-18 (D.N.M.
   Feb. 1, 2021). Implicit in “reasonable notice” is that the party producing the corporate
   representative must have a reasonable time to educate that individual on the topics to which he /
   she may need to testify. Otherwise, a 30(b)(6) deposition of a corporate representative not fully
   informed would be counterproductive for all parties involved. As the Court is aware, the scope
   of discovery sought by OxyChem is extensive, decades old, and relates to the historical
   operations of two sites owned by STWB. Preparing a witness to testify on the corporate
   knowledge regarding this time period, for two sites, and on the wide breath of topics sought by
   OxyChem, is a major undertaking and requires the appropriate limiting relief from the Court for
   a Protective Order.

           Pending the outcome of this motion, if necessary, STWB must first identify a corporate
   designee and then prepare that corporate designee as a witness. The return date on this pending
   motion is July 18, 2022, leaving STWB with only twenty-nine (29) days to prepare any potential
   corporate designee for OxyChem’s unilaterally designated August 16, 2022, date provided in the
   Deposition Notice. As the Special Master is aware, the Deposition Protocol requires ninety (90)
   days to prepare any potential corporate designee for a 30(b)(6) motion. For the reasons set forth
   herein, STWB cannot possibly designate and educate a corporate designee on the wide scope of
   the topics pursuant to the Deposition Notice in twenty-nine (29) days. As such, if necessary,
   STWB respectfully requests the Court adjourn any potential 30(b)(6) deposition of a corporate
   designee of STWB until at least October 2022.




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                                          CONCLUSION

           For the reasons set forth herein, STWB respectfully requests that its Motion for
   Protective Order be granted, precluding Topics 1, 3, 5, 7, 9, 11, 13, and 15 and limiting any
   potential 30(b)(6) deposition to topics not previously addressed by the Thomasset Deposition;
   requiring OxyChem to provide more specific topics for any potential 30(b)(6) deposition; and
   adjourning any potential 30(b)(6) deposition to October 2022.

                                               Respectfully submitted,

                                               SCHENCK, PRICE, SMITH & KING, LLP

                                               /s/ Timothy I. Duffy
                                               Timothy I. Duffy, Esq.

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